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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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DR. SARI EDELMAN,

                                   Plaintiff,                                   21 CIVIL 502 (LJL)

                 -against-                                                         JUDGMENT

NYU LANGONE HEALTH SYSTEM, NYU
LANGONE HOSPITALS, NYU LANGONE
MEDICAL CENTER, NYU LANGONE NASSAU
RHEUMATOLOGY, NYU SCHOOL OF
MEDICINE, NYU GROSSMAN SCHOOL OF
MEDICINE, NYU HOSPITALS CENTER,
ANDREW T. RUBIN, DAVID KAPLAN,
JOSEPH ANTONIK, and JOSHUA SWIRNOW,

                                    Defendants.
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        It is hereby ORDERED, ADJUDGED AND DECREED: That after a Jury

Trial before the Honorable Lewis J. Liman, United States District Judge, Plaintiff Dr. Sari

Edelman has judgment for damages in the sum of $700,000.00 for front pay as against the

defendants.

DATED: New York, New York
       July 26, 2023


                                                                           RUBY J. KRAJICK
                                                                      _________________________
So Ordered:                                                                 Clerk of Court

                                                                BY:
________________________                                               _________________________
   U.S.D.J.                                                                   Deputy Clerk
